                         UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                              CASE NO.: 5:10-CV-0536



JOE HAND PRODUCTIONS, INC.,         )
                                    )
                  Plaintiff,        )
                                    )
      v.                            )                ANSWER OF DEFENDANTS
                                    )
JORKAY, LLC d/b/a RUDY’S PUB &      )
GRILLE and MICHAEL B. PARENT,       )
                                    )
                  Defendants.       )
____________________________________)

       NOW COMES the Defendants, by and through undersigned counsel, and hereby

Answers the numbered paragraphs of the Complaint of the Plaintiff as follows:

                                       FIRST DEFENSE

       1.      To the extent paragraph 1 of the complaint is an allegation, it is DENIED.

       2.      ADMITTED.

       3.      DENIED.

       4.      Defendants are without sufficient knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 4, they are therefore, DENIED.

       5.      ADMITTED.

       6.      ADMITTED.
                                            COUNT I

       7.      This paragraph does not require a response.

       8.      Defendants are without sufficient knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 8, they are therefore, DENIED.



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        9.      Defendants are without sufficient knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 9, they are therefore, DENIED.

        10.     Defendants are without sufficient knowledge or information sufficient to form a

belief as to the truth of the allegations in paragraph 10, they are therefore, DENIED.

        11.     DENIED.

        12.     DENIED.

        13.     DENIED.

        14.     DENIED.

        15.     This allegation and all sub-parts thereof are DENIED.

        16.     DENIED.
                                            COUNT II

        17.     This paragraph does not require a response.

        18.     This allegation sets forth a legal conclusion to which no response is required as

the federal statute speaks for itself.

        19.     DENIED.

        20.     This allegation sets forth a legal conclusion to which no response is required as

the federal statute speaks for itself.

        21.     DENIED.

        22.     DENIED.

        23.     This allegation and all sub-parts thereof are DENIED.

        24.     DENIED.
                                            COUNT III

        25.     This paragraph does not require a response.

        26.     DENIED.


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        27.     This allegation sets forth a legal conclusion to which no response is required as

the federal statute speaks for itself.

        28.     DENIED.

        29.     DENIED.

        30.     DENIED.

                         SECONSD DEFENSE-MOTION TO DISMISS

        The Plaintiff has failed to state a claim against Defendants upon which relief may be

granted and this matter should be dismissed with prejudice pursuant to Federal Rule of Civil

Procedure 12(b)(6).

        WHEREFORE, Defendants pray the Court that:

        1.      This action be dismissed with prejudice;

        2.      The Plaintiff have and recover nothing from Defendants;

        3.      The costs of this action be taxed against the Plaintiff;

        4.      The matter be tried by a jury on all issues so triable;

        5.      It award reasonable attorney’s fees for the defense of this action; and,

        6.      For such other and further relief as the Court shall deem just and proper.

        Respectfully submitted this the 22nd day of June, 2011.

                                                       HAIRSTON LANE BRANNON, P.A.

                                               By:     /s/James E. Hairston, Jr.
                                                       James E. Hairston, Jr.
                                                       Attorney for Defendants
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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above

and foregoing Answer was served on the following parties to this action via:

( )    hand delivery to:

( )    UPS/FedEx/Next Day Air to:

( )    Email: Rebecca@leighlaw.com

(X)    Electronic Filing

( )    depositing a copy of the same in the United States Mail postage prepaid

       and addressed to:

       Rebecca A. Leigh, Esq.
       301 S. Greene Street, Suite 201
       Greensboro, NC 27401



              This the 22nd day of June, 2011.


                                            HAIRSTON LANE BRANNON, PA

                                            /s/James E. Hairston, Jr.
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